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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND




UNITED STATES OF AMERICA                         *
                                                 *
                                                 *
                                                 *            Crim. No. I'.IM 09-0468
                                                 *
                                                 *
RODNEY MATTHEW ESTEP, JR.                        *
                                                 *
         Petitioner                              *
                                                 *
                                  MEMORANDUM OPINION

         Rodney Estep has filed a Petition under 18 U.S.C.   * 3582(c) to have his sentence reduced
pursuant to Amendment 782 to the U.S. Sentencing Guidelines. Having reviewed the Motion,

and the Government's     Opposition, the Court, for thc reasons that follow, will GRANT the

Motion but will only reduce Estep's sentence to 134 months in custody.

                                                 I.

         On April 14. 2010. Estep pleaded guilty In this Court a three-count            Superseding

Information as follows: Count 1. Conspiracy to Distribute Five Kilograms or More of Cocaine

and Fifty or More Grams of a Mixture of Substance Containing a Detectable Amount of Cocaine

Base violation of 21 U.S.C.    * 846: Count 2, Money Laundering in violation of 18 U.S.c. *
1956(a)(l )(B)(i): and Count 3, Conducting an Illegal Gambling Business in violation of 18

U.S.c.   * 1955. Based on an offense level of 32 and a criminal history category of Ill, the
guideline range for custody was 151 months to 188 months.            On May 4, 2011, this Court

sentenced Estcp to 168 months in custody as to Counts 1 and 2. and 60 months in custody as to

Count 3. with the three sentences to run concurrently.



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        On July 10,2015, the Office of the Federal Public Defender, on behalf of Estep, filed the

instant Motion under 18 U.S.c, ~ 3582(c)(2), seeking a reduction in his sentence pursuant to

Amendment 782 of the Sentencing Guidelines.           The parties agree that under Amendment 782,

Estep's offense level should be reduced by two levels. With the same criminal history category

of [II, but with the offense level lowered from 32 to 30, the amended guideline range is 121 to

151 months.
                                                                                                      •

        Although the Government and Estep's counsel agree that he is eligible for a sentence

reduction, they dispute the extent of the reduction. Counsel for Estep requests a sentence of 121

months as to Counts I and 2, at the bottom of the new guideline range. The Government objects

to the extent of the relief sought, arguing that a sentence of 134 months is the most accurate

reflection of the original sentence, based on a percentage-based methodology.

                                                II.

        Subsequent to Estep's sentencing, the United States Sentencing Commission adopted

Amendment       782, effective November   I, 2014, that reduced the base offense level in the

Advisory Guidelines under ~ 201.1 for certain drug offenses by two levels.         Soon after, the

Sentencing Commission provided that Amendment 782 would apply retroactively.          U.S.S.G. ~~

IBI.IO(d),   (e)(I).

        Under 18 U.S.C. ~ 3582(c), "a defendant who has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission"       may file a motion asking the court to reduce his sentence.      Section 3582(c)

provides that the court may reduce a defendant's term of imprisonment "after considering the

factors set forth in section 3553(a) to the extent that they are applicable, if such a reduction is

consistent with applicable policy statements issued by the Sentencing Commission." 18 U.S.C. S



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3582(c)(2).    As the United States Supreme Court explained in Dillon I'. United Siaies. 560 U.S.

817.819.      130 S. Ct. 2683, 177 L.Ed.2d 271 (2010), "applieable policy statements" refers to

those statements found in U.S.S.G. SIB 1.1 O. In Dillion, the Court described 18 U.S.c. S

3582(c)(2) as a two-step inquiry: the district court "must first detennine that a reduction is

consistent with SiB 1.10 before it may consider whether the authorized reduction is warranted,

either in whole or in part, according to the factors set forth in S 3553(a)."   Dillion, 560 U.S. at

826.

        Under Section IBI.IO(b)(1), the court is instructed to detem1ine the guideline range that

would have been applied had the amendment been in effect at the time of sentencing.         In doing

so, the court must "substitute     only the amendments      ...   for the corresponding    guideline

provisions    that were applied when the defendant was sentenced and shall leave all other

guideline application decisions unaffected."   U.S.S.G. SS IBI.IO(b)(l).   In general, a defendant's

sentence should not be reduced "to a term that is less than the minimum of the amended

guideline range ....   " U.S.S.G. SS 1B 1.10(b)(2)(A); see United Siaies v. Fennell, 592 F.3d 506.

509 (4th Cir. 2010).

                                                 III.

        Estep contends that a reduced sentence of 121 months is within the Court's authority and

would fullill the policy statements in U.S.S.G. SIB 1.1 O. He submits that a scntence at thc very

bottom of the new guideline range is warranted by several relevant factors, including that he

would pose no danger to the community.      He has already spent live years in custody. was a low-

level. non-violent drug offender, had a minimal, non-violent criminal history, has two children

who need his support, and maintains a close relationship with his mother. See DeC s Reply at 2,

ECF No. 562-4.



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        Arguing from a percentage-based         methodology, the Government asserts that a reduced

sentence of 134 months would be the most accurate reflection of the original sentence.             The

Government calculates Estep's original sentence of 168 months as a percentage of the bottom of

the original guideline range, and then determines 134 months to be the same percentage of the

bottom of the new guideline range. I A sentence of 134 months, in the Government's               view,

ensures an accurate and consistent sentence in line with the Guidelines' policy statement, while

Estep's request for a sentence of 121 months is inconsistent with the mandates of U.S.S.G. ~

1131.10. See Gov't Resp. Opp'n at 3, ECF No, 562-3.

        The Court concludes that a sentence of 134 months, as recommended by the Government.

is the most appropriate in this case.

        A federal court has discretion to Issue a reduced sentence within the new guidelines

range, "calculated by any reasonable means, so long as it yields a new sentence congruent with

the policy statcments of the Guidelines,"        United States Y. Fennell, 592 F.3d 506, 510-11 (4th

Cir. 20 I0).

        While the Government's      percentage-based      methodology provides an accurate way to

"substitute only the amendment(s)       ...     for the corresponding guideline provisions that were

applied when the defendant was sentenced," U.S.S.G. ~1B1.10(b)(I), the Court's analysis does

not stop there. In determining the extent orthe reduction, the Court is also instructed to consider

other factors, including the "nature and seriousness of the danger to any person of the community

that may be posed by a reduction in the defendant's term of imprisonment .. ," as well as "post-




IThe United States Probation Ofllce ("USPO") also recommends a reduced sentence of 134 months, but
performs a variation of the percentage-based methodology to reach this result. USPO notes that the
original sentence of 168 months is 89% of 188 months, the top of the original guideline range. Likewise,
134 months is 89% of 151 months, the top of the new guideline range. USPO Memo. ECF No. 562-2
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sentencing conduct of the defendant that occurred after imposition of the term of imprisonment.

   " V.S.S.G. S IB1.10 app. n. I(B).

       That said, the Court finds 1t1 this case that a reduced sentence            of 134 months

appropriately captures all of the relevant policy factors. The limited information provided as to

the post-sentencing   conduct of the defendant does not warrant a further reduction from the

sentence calculated by means of the percentage-based methodology.        Estep's family background

and the fact that he was a low-level, non-violent drug otTender with a minimal criminal history

were taken into consideration at the time of sentencing.

       Accordingly, the Court grants Estep's Motion and applies a two-level reduction in the

offense level from 32 to 30, but only reduces his sentence to J 34 months.

                                                IV.

       For the foregoing reasons, Estep's Motion for a Reduced Sentence under 18 V.S.c.       S
3582(c) is GRANTED.

       A separate Order will ISSUE.




                                                           ~
                                                            /s/
                                                       ETER J. MESSITTE
                                                       TATES DISTRICT JUDGE


April 1-,2016




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